1          Edward J. Maney
           Chapter 13 Trustee
2          101 N. First Ave., Suite 1775
           Phoenix, Arizona 85003
3          Telephone (602) 277-3776
           ejm@maney13trustee.com
4
                                   IN THE UNITED STATES BANKRUPTCY COURT
5                                          FOR THE DISTRICT OF ARIZONA

6          In re:                                          )       CHAPTER 13 PROCEEDINGS
                                                           )
7                                                          )       CASE NO. # 2: 20-03990-MCW
                WILLIAM HERBERT WALKER V,                  )
8               MIRIAM SHIRAN WALKER,                      )       TRUSTEE'S EVALUATION AND
                                                           )       RECOMMENDATION(S) REPORT WITH
9                                                          )       NOTICE OF POTENTIAL DISMISSAL IF
                                                           )       CONDITIONS ARE NOT SATISFIED
10                                                         )       RE: CHAPTER 13 PLAN
                                           (Debtor(s)      )       docket #13      filed April 23, 2020
11

12                  Edward J. Maney, Trustee, has analyzed the Debtors’ Chapter 13 Plan and supporting

13         documents and submits the following evaluation and recommendation(s):
14
      General requirements:
15

16
           a.       Due to the possibility of errors on the claims docket, it is the attorney’s responsibility to review
17                  all proofs of claim filed with the Court and resolve any discrepancies between the claims and
                    the Plan prior to submitting any proposed Order Confirming Plan to the Trustee. Please
18                  submit a copy of the Court’s Claims Register with any submission of the Order Confirming.

19     b.           Requests by the Trustee for documents and information are not superseded by the filing of an
                    amended plan or motion for moratorium.
20
       c.           The Trustee will object to any reduction in the Plan duration or payout in a proposed Order
21                  Confirming Plan unless an amended or modified plan is filed and noticed out.

22     d.           The Debtors are required to provide directly to the Trustee, within 30 days after their filing,
                    copies of their federal and state income tax returns for every year during the duration of the
23                  Chapter 13 Plan. This requirement is to be included in any Order Confirming.
24     e.           The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this
                    Order shall not constitute an informal proof of claim for any creditor.”
25
      f.            The Trustee requires that any proposed Order Confirming Plan state: “Debtor is instructed to
26                  remit all payments on or before the stated due date each month. Debtor is advised that when
                    payments are remitted late, additional interest may accrue on secured debts, which may result in
27
                    a funding shortfall at the end of the Plan term. Any funding shortfall must be cured before the
28                  Case can be discharged. This requirement is effective regardless of Plan payments
                    suspensions, waivers or moratoriums, and must be included in any Plan Confirmation Orders.”

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3      g.   At the time of confirmation, the Trustee will require the Debtors to certify that they are current
            on all required tax filings and any domestic support orders.
4
       h.   At the time of confirmation, the debtor(s) are required to certify, via language in the Order
5           Confirming, that they are current on all payments that have come due on any Domestic Support
            Orders since the filing of their case and that they are current on all required tax return
6           filings [pursuant to 11 U.S.C. §1308].

7      i.   DEBTORS / DEBTORS’ COUNSEL REMINDER - A letter is to be submitted to the Trustee,
            accompanying any Order Confirming, addressing all issues as they are listed in the Trustee’s
8           Recommendation. In addition, all documents (ex: tax returns, paystubs etc.) submitted to the
            Trustee must be redacted – in compliance with Fed.R.Bankr.P.9037 -- by debtors and/or their
9
            counsel.
10

11    Specific Recommendations:

12    1.    The Trustee requires the debtors supply a copy of statements that reveals the balance on
            hand - in all three (3) of their financial/bank accounts - on the date of the filing of their case.
13
      2.    The Arizona Department of Revenue has filed an objection to the Plan. The Trustee requires
14          the objection to be resolved prior to confirmation of the Plan.

15    3.    The proofs of claim filed by Fast Auto Loans (2012 Kia Forte - claim #6), Sherwood
            Management/Daniels Jewelers (claim #15) and the Internal Revenue Service (priority claim #5)
16          differ by classification and/or amount from these creditors' treatment under the Plan. To resolve
            this discrepancy, the Trustee requires either; a) Debtor object to the Proof of Claim; b) the
17          creditor sign-off on an Order Confirming; c) the Order Confirming be altered to pay the creditor
            pursuant to the Proof of Claim including payment of the contract rate of interest; or d) Debtor file
18          an Amended Plan to provide for the creditor's claim as shown by the Proof of Claim.
19    4.    The Internal Revenue Service's proof of claim dated April 30, 2020 indicated Debtor has not filed
            income tax returns for 2017, 2018 and 2019. The Trustee requires Debtor to immediately
20
            prepare and file all unfiled tax returns. Failure to file said returns or the required Affidavit
21          within 30 days from the date of this Trustee's Recommendation and providing a stamped
            copy of said returns may result in the Trustee lodging an Order automatically dismissing
22          Debtor's case.

23    5.    The Arizona Department of Revenue's proof of claim [#3] dated April 24, 2020 indicates Debtor
            has not filed income tax returns for 2015, 2017, 2018 and 2019. The Trustee requires Debtor to
24          immediately prepare and file all unfiled tax returns. Failure to file said returns or the required
            Affidavit within 30 days from the date of this Trustee's Recommendation and providing a
25          stamped copy of said returns may result in the Trustee lodging an Order automatically
            dismissing Debtor's case.
26
      6.    The Trustee notes Debtor's payroll deduction for a retirement or 401k plan loan repayment of $46
27          per month. The Trustee requires documentation regarding the terms of the loan, current loan
            balance and completion date. If installment payments cease prior to the end of the Chapter 13
28
            Plan, the Trustee requires Plan payments to increase accordingly.

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3

4     7.    The Trustee informs the debtors that should the 2019 returns (see items #4 & #5 above)
            reveal significant tax refunds, if allowed to continue, this would constitute a diversion of
5           disposable income. In that case, unless the plan is confirmed at 100% repayment to all
            creditors the Trustee would require the Debtor(s) adjust payroll tax deductions to prevent
6           over- or under-withholding, amend Schedule I increasing Plan payments accordingly and
            provide two consecutive paystubs to verify this has been corrected or require the turn over tax
7           refunds 2020, 2021, 2022, 2023 and 2024 of the Plan as supplemental Plan payments.
8
      8.    Considering items #2, #4 and #5, the Trustee's analysis reveals a $2,404 funding shortfall,
9           which must be cured before the Plan can be confirmed.

10    9.    Plan payments are currently delinquent $1,191 with a payment of $1,235 coming due August 16,
            2020.
11

12                   In summary, the Plan can be confirmed subject to the condition(s) noted above,
            adequate funding, and timely filed Stipulated Order Confirming, and Court approval. The
13          Trustee requires that any Stipulated Order Confirming contain the “wet” signatures from
            the debtors (where applicable), debtors counsel and objecting creditors if there are any.
14           General unsecured creditors (including secured creditors with unsecured deficiency balances)
            will be paid through the Trustee, subject to timely filed and allowed claims. Chapter 7
15          reconciliation requirement must be met given debtors’ scheduled equity in non-exempt property
            at petition date. You are hereby advised that the Trustee may lodge an Order of Dismissal
16          should Debtor fail to resolve item(s) #1, #4, #5, #6, #8, #9 above and submit a Stipulated
            Order Confirming to the Trustee for review and signature or request a hearing within 30
17          days from the date of the mailing of this Trustee's Recommendation.

18
            Date See Electronic Signature Block
19                                                               EDWARD J. MANEY,
                                                                 CHAPTER 13 TRUSTEE
20

21

22

23                                                             Edward J. Digitally         signed
                                                                                  by Edward J.
24
                                                               Maney,             Maney, Esq.
                                                                                  Date: 2020.07.25
25
                                                         By:   Esq.
                                                                _______________________________
                                                                                  09:21:15 -07'00'
                                                                 Edward J. Maney ABN 12256
26
                                                                 CHAPTER 13 TRUSTEE
27                                                               101 North First Ave., Suite 1775
                                                                 Phoenix, Arizona 85003
28                                                               (602) 277-3776
                                                                 ejm@maney13trustee.com

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            Copies of the forgoing
4           mailed on [see electronic signature],
            to the following:
5

6

7
            William Walker
8           Miriam Walker
            4221 E. Ray Rd., Apt.#2005
9           Phoenix, Arizona 85044
            Debtors
10

11

12          Thomas A. McAvity, Esq.
            4742 North 24th Street
13          Suite #300
            Phoenix, Arizona 85016
14          Debtors’ counsel

15

16

17
                                             Digitally signed by
18                Susan     Susan Havermale
19                Havermale Date: 2020.07.27
                            11:28:36 -07'00'
20          By:
                     Trustee’s Clerk
21

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